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HUHIBY__ DMZ
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNQE§ _ ,
wESTERN DIVISION M 5 H 3` le

 

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w ama iam

GLORIA HARRELL,

Plaintiff,
V. NO. 05-2204 Ml/P
NO. 1 USED CARS,

Defendant.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule l6(b) Scheduling Order
was entered on June 16, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance with the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last two to three (2-3) days, is set to begin Tuesdayl

May 30. 2006 at 9:30 a.m. in courtroom no. 4.

 

2. A pretrial conference is set for Monda'y'1 May 22. 2006 at
8:45 a.m.
3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on May 15l 2006.

This document entered on the dockets eat ln cor;pfianca
with Hu|e 58 and/or 79(a) FRCP on 2 ' Q 1 l g

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Absent good cause, the dates established by this order shall

not be extended or modified.

'F-v

IT IS SO ORDERED this C> day Of July, 2005.

mQOLQQA
J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02204 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

